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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF GEORGIA
                                        MACON DIVISION

VC MACON GA, LLC                                            )
                                                            )
           Plaintiff,                                       )
                                                            )
v.                                                          )               Civil Action No.
                                                            )              5:18-cv-00388-TES
VIRGINIA COLLEGE, LLC; and                                  )
EDUCATION CORPORATION OF                                    )
AMERICA,                                                    )
                                                            )
           Defendants.                                      )

                     ORDER (I) AUTHORIZING AND APPROVING
            THE APPOINTMENT OF OMNI MANAGEMENT GROUP AS NOTICE
                AND CLAIMS AGENT TO ECA AND THE RECEIVER AND
                        (II) GRANTING RELATED RELIEF

           Upon the application (the “Application”) 1 of John F. Kennedy, solely in his capacity as

receiver (the “Receiver”) for the Receivership Estate (the “Receivership Estate”) of Education

Corporation of America, Virginia College, LLC, and New England School of Business and

Finance (collectively, “ECA”), for entry of an order (this “Order”), (a) appointing Omni as Claims

and Noticing Agent for the Receiver and this receivership action (this “Receivership Action”)

pursuant to the Court’s Order Appointing Receiver and Preliminary Injunction (the “Receivership

Order”) (Doc. 26), including assuming full responsibility for the distribution of notices and the

maintenance, processing, and docketing of proofs of claim filed in this Receivership Action, and

(b) granting related relief, all as more fully set forth in the Application; and the Receiver having

estimated there may be in excess of 50,000 potential creditors in this case, many of which are

expected to file proofs of claim; and it appearing that the receiving, docketing, maintaining of



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    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Application.
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proofs of claim would be unduly time consuming and burdensome for the Receiver; and the

Receiver being authorized to utilize, at ECA’s expense, outside agents and facilities to provide

notices to parties in this Receivership Action and to receive, docket, maintain, photocopy, and

transmit proofs of claim; and this Court being satisfied that the Claims and Noticing Agent does

not hold an interest adverse to the Receiver or the Receivership Estate respecting the matters upon

which it is to be engaged; and upon the Deutch Declaration; and upon this Court having jurisdiction

over this matter; and this Court having found that the Receiver’s notice of the Application and

opportunity for a hearing on the Application were appropriate under the circumstances and no

other notice need be provided; and this Court having reviewed the Application and having heard

the statements in support of the relief requested therein at a hearing before this Court (the

“Hearing”); and this Court having determined that the legal and factual bases set forth in the

Application and at the Hearing establish just cause for the relief granted herein; and upon all of

the proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

       1.      Notwithstanding the terms of the Engagement Agreement attached as Exhibit “C”

to the Application (Doc. 157-3), the Application is GRANTED as set forth herein.

       2.      The Receiver is authorized to retain Omni as Claims and Noticing Agent under the

terms of the Engagement Letter, and Omni is authorized and directed to perform noticing services

and to receive, maintain, record, and otherwise administer the proofs of claim filed in this

Receivership Action, and all related tasks, all as described in the Application.

       3.      Omni shall serve as the custodian of claims records and shall be designated as the

authorized repository for all proofs of claim filed in this Receivership Action and is authorized and




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directed to maintain an official claims register for the Receivership Estate and to provide the

Receiver with a certified duplicate thereof upon the request of the Receiver.

       4.      Omni is authorized and directed to establish a website and obtain a post office box

or address for the receipt of proofs of claim.

       5.      Omni is authorized to take such other action to comply with all duties set forth in

the Application and the Claims Process.

       6.      Subject to the Receivership Order and further orders of this Court, the Receiver is

authorized to compensate Omni in accordance with the terms of the Engagement Agreement,

including the payment of the retainer described therein, upon the receipt of reasonably detailed

invoices setting forth the services provided by Omni and the rates charged for each, and to

reimburse Omni for all reasonable and necessary expenses it may incur, upon the presentation of

appropriate documentation, without the need for Omni to file fee applications or otherwise seek

Court approval for the compensation of its services and reimbursement of its expenses.

       7.      Omni shall maintain records of all services showing dates, categories of services,

fees charged, and expenses incurred, and shall serve monthly invoices on ECA, the Receiver, the

Court, and any party in interest who specifically requests service of the monthly invoices.

       8.      The parties shall meet and confer in an attempt to resolve any dispute that may arise

relating to the Engagement Agreement or monthly invoices; provided that the parties may seek

resolution of the matter from this Court if resolution is not achieved.

       9.      The fees and expenses of Omni under this Order shall be professional

administrative expense of the Receivership Estate.




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       10.     Omni may hold its retainer under the Engagement Agreement during this

Receivership Action as security for the payment of fees and expenses incurred under the

Engagement Agreement.

       11.     To the extent applicable in the Engagement Agreement, all requests by Omni for

the payment of indemnification shall be made by means of an application to the Court and shall be

subject to review by the Court to ensure that payment of such indemnity conforms to the terms of

the Engagement Agreement and is reasonable under the circumstances of the litigation or

settlement in respect of which indemnity is sought; provided that in no event shall Omni be

indemnified in the case for its own bad-faith, self-dealing, breach of fiduciary duty (if any), gross

negligence, or willful misconduct.

       12.     In the event that Omni seeks reimbursement from the Receiver for attorneys’ fees

in connection with the payment of an indemnity claim, the invoices and supporting time records

for the attorneys’ fees and expenses shall be included in Omni’s own applications, both interim

and final, but determined by this Court after notice and a hearing.

       13.     In the event Omni is unable to provide the services set out in this Order, Omni will

immediately notify the Receiver and ECA and, upon approval of this Court, cause to have all

original proofs of claim and computer information turned over to another claims and noticing agent

with the advice and consent of the Receiver and ECA.

       14.     The Receiver may submit a separate retention application for work that is to be

performed by Omni but is not specifically authorized by this Order.

       15.     Omni shall not cease providing claims processing services during this Receivership

Action for any reason, including nonpayment, without an order of this Court; provided that Omni

may seek such an order on expedited notice by filing a request with this Court with notice of such




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request to be served on ECA, the Receiver, and the Court by facsimile or overnight delivery;

provided, further, that except as expressly provided herein, the Receiver and Omni may otherwise

terminate or suspend other services as provided under the Engagement Letter.

       16.        After entry of an order terminating Omni’s services as the Notice and Claims

Agent, upon the closing of this Receivership Action, or for any other reason, Omni shall be

responsible for archiving all proofs of claim with the Federal Archives Record Administration, if

applicable.

       17.        In the event of any inconsistency between the Engagement Agreement, the

Application, and this Order, this Order shall govern.

       18.        Notice of the Application as provided therein shall be deemed good and sufficient

notice of such Application.

       19.        The terms and conditions of this Order are immediately effective and enforceable

upon its entry.

       20.        The Receiver and Omni are authorized to take all actions necessary to effectuate

the relief granted in this Order in accordance with the Application.

       21.        This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

   IT IS SO ORDERED, THIS 5th day of March, 2019.


                                                S/ Tilman E. Self, III
                                                TILMAN E. SELF, III, JUDGE
                                                UNITED STATES DISTRICT COURT




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